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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                     EL DORADO DIVISION

MARCO ANTHONY GUIRLANDO                                                                                PLAINTIFF

v.                                           Civil No. 1:20-cv-01046

DONALD J TRUMP; WILLIAM BARR; M. D.
CARVAJAL; ADAM COHEN; SGT. WILLIAMS,
Warden; and CAPTAIN RICHARD MITCHAM                                                               DEFENDANTS

                                                      ORDER

         This is a civil rights action filed by the Plaintiff, Marco Anthony Guirlando, pursuant to 42

U.S.C. § 1983. Before the Court is Plaintiff’s Motion to Dismiss Case. (ECF No. 28). On

September 18, 2020, the United States District Court for the District of Columbia transferred this

case to the Western District of Arkansas, El Dorado Division. (ECF No. 21). On October 14,

2020, this Court entered an order directing Plaintiff to file an Amended Complaint by November

3, 2020 and submit a completed application to proceed in forma pauperis (“IFP”) by November 3,

2020. (ECF No. 25). 1 On November 2, 2020 Plaintiff filed the instant motion stating, “The

Plaintiff, Marco Guirlando, in the above entitled case hereby withdraws the complaint and ask the

Court to dismiss the suit without prejudice.” (ECF No. 28).

         The Federal Rules of Civil Procedure allow a Plaintiff to dismiss an action by Court order

on “terms that the Court considers proper.” Fed. R. Civ. P. 41(a)(2). Such dismissal under Rule

41(a)(2) is without prejudice unless the Court specifically orders to the contrary. Id.

         Upon consideration, the Court finds that good cause has been shown for the motion. The

Clerk is DIRECTED to treat Plaintiff’s motion (ECF No. 28) as a notice of voluntary dismissal of




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  This order also directed the Clerk to sever Jason Parmeley’s – another plaintiff who resided in Illinois at the time
the Complaint was filed - claims and transfer them to the United States District Court in Illinois. (ECF No. 25, p. 3).
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his claims against Defendants pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure and dismiss the claims against Defendants without prejudice.

       Accordingly, Plaintiff’s Complaint (ECF No. 1) should be and hereby is DISMISSED

WITHOUT PREJUDICE pursuant to Fed. R. Civ. P. 41 (a)(2) against all Defendants.

       IT IS SO ORDERED, this 9th day of November, 2020.


                                                          /s/ Susan O. Hickey
                                                          Susan O. Hickey
                                                          Chief United States District Judge




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